Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 1 of 8. PagelD #: 407444

NOTICE OF SERVICE: ATTACHMENT 2

CONSOLIDATED REPLY MEMORANDUM
IN FURTHER SUPPORT OF PLAINTIFFS’
MOTIONS FOR PARTIAL SUMMARY
ADJUDICATION WITH RESPECT TO THE
CONTROLLED SUBSTANCES ACT
(DKT. #1910-1 & #1924-1)

EXHIBIT LIST
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 2 of 8. PagelD #: 407445

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OHIO

 

 

 

 

 

 

 

 

EASTERN DIVISION
IN RE NATIONAL PRESCRIPTION MDL 2804
OPIATE LITIGATION Case No. 17-md-2804
This document relates to: Hon. Dan Aaron Polster
Track One Cases
EXHIBIT LIST
Exhibit Description Date
Number
521. Rannazzisi, Joseph T., Deputy Assistant Administrator, 06/12/2012
Office of Diversion Control, U.S. DOJ, DEA Letter re:
registrants
522. Settlement and Release Agreement and Administrative | 05/02/2008
Memorandum of Agreement between U.S. DOJ, DEA
and McKesson Corporation
523. Administrative Memorandum of Agreement between | 01/17/2017
U.S. DOJ, DEA and McKesson Corporation, with DOJ
Bates
524. Excerpts of Summit County and the City of Akron, Ohio | 03/04/2019
Plaintiffs’ Supplemental Responses and Objections to
Manufacturers’ Interrogatory Numbers 1, 2, 3, 5, 11, 12,
13, 15, 20, 21, 26, 27, 28 & 29
525. Excerpts of Summit County and the City of Akron, Ohio | 03/04/2019
Plaintiffs’ Supplemental Responses and Objections to
Distributor Defendants’ Interrogatory Numbers 2, 3, 4, 8,
12, 14, 15, 16, 17, 23, 24, 27 & 29

 

 

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 3 of 8. PagelD #: 407446

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

526. Excerpts of Summit County and the City of Akron, Ohio | 03/04/2019
Plaintiffs’ Supplemental Responses and Objections to
National Retail Pharmacy Defendants’ Interrogatory
Numbers 4, 7, 15, 16, & 19

527. Email from Karen Harper to Howard Davis regarding | 11/18/2010
Revision of QSP Order Monitoring

528. Email from Karen Harper to Bill Ratcliff regarding DEA | 02/29/2008
Suspicious Order Monitoring Update

529, Memorandum from Howard Davis to Karen Harper} 11/02/2010
regarding Suspicious Order Monitoring Program, No.
C/S Comp 3.0

530. Email of Karen Harper regarding Notes to File, Howard | 11/17/2010
Davis

531. Suspicious Order Monitoring Team Charter 04/07/2011

532. Email from Tiffany Kilper to Karen Harper regarding | 01/05/2011
Peculiar Orders

533. Rannazzisi, Joseph T., Deputy Assistant Administrator, |} 02/07/2007
Office of Diversion Control, U.S. DOJ, DEA letter

534. Email from Colleen McGinn to Karin Shanahan| 10/16/2015
regarding PPO# 1031374 for the OXYCODONE product

535. Email from Joseph Tomkiewicz to Colleen McGinn | 10/28/2015
regarding Publix Anda weekly call

536. Chat RE Anda Publix 10/16/2015

537. Chat RE Publix Oxy Order Issues 10/30/2015

538. Power Point regarding Cephalon Prioritizing Actiq| 12/14/2006
Loyalists

539. 2005 ACTIO Marketing Plan

540. United States of America v. Cephalon, Inc.: Government's | 09/29/2008

 

Memorandum for Entry of Plea and Sentencing

 

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 4 of 8. PagelD #: 407447

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

541. Cephalon DOJ Press Release: Biopharmaceutical Company, | 09/29/2008
Cephalon, to Pay $425 Million & Enter Plea to Resolve
Allegations of Off-Label Marketing

542. United States of America v. Cephalon, Inc.: Celphalon’s | 08/28/2008
Guilty Plea Agreement

543. 2005 Physicians Desk Reference 2005

544. Email from Jessica Clark to Faiza Poshni, Angela Feniger | 10/25/2016
and Heather Jones regarding SOMs

545. Email from Jill Connell to Tracey Hernandez forwarding | 03/22/2013
Composite Risk Assessment

546. Cover Email w QT Cegedim SOM Compliance PPT 12/01/2008

547. Email from Kathleen Cross to Debbie Komoroski &| 10/15/2014
Tracey Hernandez regarding Tracey Hernandez’s SOM
summary & resume

548. Email from Tracey Hernandez to Sanjay Patel with| 01/04/2013
attachments regarding DEA SOM Compliance

549. The Drug & Chemical Advisory Group: Evaluation of | 01/08/2018
the Suspicious Orders Monitoring System for Johnson &
Johnson

550. Rannazzisi, Joseph T., Deputy Assistant Administrator, | 12/27/2007
Office of Diversion Control, U.S. DOJ, DEA letter

551. Email from Nancy Baran to Pat Corridon regarding | 08/17/2009
Suspicious Orders

552. Actavis Transition 07/31/2012

553. ALLERGAN-MDL-04176625 06/2003

554. Watson Pharma, Inc. Call Center Operations - Master) 05/03/2004
Data/ License Admin. Operational Procedure

555. Actavis power point: Suspicious Order Monitoring | 11/08/2011

 

Project Status Review

 

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 5 of 8. PagelD #: 407448

 

556. US. DOJ, DEA letter to Geoffrey Hobart, Covington &| 11/ 04/2014
Burling LLP regarding Registration Consequences for
McKesson Corporation Violations of the Controlled
Substances Act

 

 

 

 

 

 

 

557. MCKMDL00478912

558. MCKMDL00616425

559. MCKMDL00616426

560. Email from Sheila Pacheco to Bruce Russell & Gary | 11/03/2006
Hilliard forwarding hydrocodone reports

561. Email from Michael Oriente to Dave Gustin regarding | 08/08/2011
South-CSMP Distribution Contacts

562. Cardinal Health letter to Kimberly Howenstein 02/13/2009

563. FTI Consulting Inc. Health Solutions Practice -

AmerisourceBergen Corporation CSRA Process Review,
Phase 1, Narrative Report

 

564. CSRA Process Review-Findings Matrix

 

565. Suspicious Order Reporting Policy and Procedure 02/01/1999

 

566. Email from Miranda Johnson to Edgar Rivera regarding | 07/09/2015
Project ID 28098 - Wal-Mart ~ 62128 - Drug Tracking

 

 

 

 

 

 

 

 

567. Walmart Inc.’s Responses to Plaintiffs (First) Combined | 11/30.2018
Discovery Requests to National Retail Pharmacies
Defendants

568. Email from Prachi Gururaj to Aishwarya Shukla); 1/24/2014
regarding the raw data long with questions

569. WMT_MDL_000052997

570. WMT_MDL._.000048100

571, WMT_MDL_000048101

572. Deposition Transcript Excerpts of Craig J. McCann,| 05/10/2019
volume II

 

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 6 of 8. PagelD #: 407449

 

573.

Email from James Greer to Tim Harris, Susanne Hiland
& Greg Beam regarding DEA Audit at DC 6013

09/27/2010

 

574.

Email from Edward Bratton to Natasha Polster regarding
State of Integrity

05/23/2016

 

575.

Email from Vicki Magnus to Jeffrey Foreman, Jeffrey
Price, David Rurka, Denman Murray Jr., & Bill Groth
regarding Walgreens State Controls Summaries

11/28/2012

 

576.

Email from Rick Gates to Ed Svihra, Dwayne Pinon,
Cheryl Creek, Lorinda Tisdell, Georgia Lehoczky,
Eugene Hoover & Terry Gubbins regarding Florida
Focus on Profit (Svihra)

05/20/2011

 

577.

In the Matter of the Administrative Inspection of Walgreens
Corporation: Administration Inspection Warrant

02/05/2013

 

578.

Email from Darem Dughri to Tasha Polster regarding
GFD PPt

10/22/2012

 

579.

Email from Suzanne Hansen to Kermit Crawford
forwarding Controlled Substance Program Exec Sum 6
1112

06/11/2012

 

580.

Walgreen Co. Controlled Substance Anti-Diversion and
Compliance Program

07/17/2012

 

581.

Email from Christopher Dymon to Patricia Daugherty
forwarding TD GRD Parameters (webinar for PILOT)

01/21/2013

 

582.

In Re National Prescription Opiate Litigation: Errata to Ed
Bratton 30(b)(6) Deposition

03/05/2019

 

583.

Defendants Walgreen Co. and Walgreen Eastern Co.'s
Second Supplemental Responses to Plaintiffs’ “(First)
Combined Discovery Requests”

02/19/2019

 

 

584.

 

Robert L. Corso, Special Agent in Charge, Detroit Field
Division, U.S. DOJ, DEA letter to Steve Kneller,
Distribution Center Manager-Walgreen Company

 

06/25/2009

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 7 of 8. PagelD #: 407450

 

585.

Barbara Martin, Manager, RX Inventory Drugs Stores,
Walgreen Co. message to Dan Coughlin regarding Mt.
Vernon DEA Audit

09/08/2010

 

586.

Email from Gabriel Weissman to Robert Mauch & Rita
Norton regarding Washington Post Inquiry

06/24/2016

 

587.

Email from Rita Norton to John Chou, Robert Mauch,
Gina Clark & Gabriel Weissman regarding Washington
Post Op-Ed: Is the DEA Partly to Blame for the Opioid
Epidemic

10/31/2016

 

588.

Email from John Gray to Robert Mauch, Dale Smith, John
Gray, Greg Drew, Jon Giacomin, Maria Burns, Mark
Walchirk & Ted Scherr regarding Washington Post DEA
Stories

10/27/2016

 

589.

Email from Carl Thorsen to Kristen Freitas & Jewelyn
Cosgrove regarding Draft Questions

04/03/2014

 

590.

Email from Patrick Kelly to Connie Woodburn, Ann
Berkey and morton@amerisourcebergen.com regarding
E&C Hearion today on Drug Diversion

03/01/2012

 

591.

Email from Rita Norton to Chris Zimmerman and David
May forwarding Feedback requested - new proposed
language on S. 483

08/18/2015

 

592.

Email from Nancy Macan McNally to Ann Berkey
regarding Recap of 05-22-14 meeting on
Marino/ Blackburn Legislation

05/23/2014

 

593.

Email from Mary Staples forwarding NACDS Regional
Chain Conference Call Summary-February 19th

02/26/2013

 

594.

Email from Ed Kaleta to Rita Norton regarding
Walgreens Hosted McCarthy Fundraiser

04/16/2018

 

 

595.

 

Email from Chris Zimmerman to Robert Mauch
regarding Follow-up with DEA

 

11/17/2015

 

 
Case: 1:17-md-02804-DAP Doc #: 2466-2 Filed: 08/16/19 8 of 8. PagelD #: 407451

 

596,

Email from Adrian Durbin to Ann Berkey, Matthew
Shiraki & Mary McDevitt regarding Report on House
Energy & Commerce Subcommittee Hearing on DEA
and FDA Transparency

04/09/2014

 

597.

Email from Efrem M. Grail to Margaret A. Garlitz
forwarding AmerisourceBergen - DEA (letter to Hon.
Dianne Feinstein)

06/07/2007

 

598.

GMMB memorandum to John Parker regarding Strategy
to Turn the Tide in West Virginia

06/19/2015

 

599,

Email from Rita Norton to Gabriel Weissman, Lauren
Moyer, Chris Zimmerman, David May, Stacie Heller &
Brad Tallamy

12/27/2016

 

600.

SGAC Annual Meeting

11/12-13/2014

 

601.

DRAFT Options for Controlled Substance Regulatory
Activity for Review Purposes Only

 

602.

Email from Jeff Abernathy to Gregory Beam, George
Chapman, Brooke Leverett, Kristy Spruell, James Greer,
Scott Peacock & Miranda Johnson regarding Over 20/50
Report

10/16/2014

 

603.

Email from Miranda Johnson to George Chapman
regarding SOM Strategy Deck - Updated

10/28/2014

 

604.

Email from Kristy Spruell to Theresa Alford & Chad
Ducote regarding SOM overview

11/23/2014

 

605.

Email from Katrina Johnson to Miranda Johnson
regarding Logistics Order Routing Project

05/03/2017

 

 

606.

 

Email from Ramona Sullins to R.J. Hermans regarding
Reddwerks list

 

08/30/2016

 

Dated: August 16, 2019

 
